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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129

  ERIC COOMER, PhD.,

        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants


                                   EXHIBIT 25
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         From: Mike Lindell <mike@mypillow.com>
            To: Dennis Montgomery <                                     >
       Subject: Zullo
          Date: Tue, 9 Feb 2021 15:04:26 +0000
    Importance: Normal




    Mr. Lindell, my name is Michael Zullo, out of an abundance of concern I am writing to you.

    I have had personal interaction with Dennis Montgomery in a law enforcement capacity under Sheriff Joseph Arpaio in the years of 2013-2015. Montgomery
    defrauded the Maricopa County Sheriff's Office in 2015 with bogas digital evidence for $120,000 during a year-long investigation. All of which I have direct
    knowledge of. I was personally responsible for uncovering Montgomery’s documented elaborate fraud perpetrated against the Sheriff's Office.

    I believe Montgomery, a former government subcontractor (2002-2005) - (2009 - 2010) is attempting to interject himself in the current election scandal gripping
    the nation at this very moment and I believe he is using you and your reputation to do so however, there is a very distinct possibility this will ultimately be to your
    detriment as I believe you have not be apprised of Montgomery's dubious past all contained in court documents.

    I am also aware that Montgomery has made inroads through Brannon Howse with renderings and reams of uncorroborated computer information alleging
    coordination of foreign actors engaged in US election interference. These are all unverified claims from only one source, Montgomery, who has a well
    documented past history of creating fictitious information.

    He will come with claims of a 12 year old clandestine CIA computer system known as the “Hammer” and a never mentioned before program he calls “Scorecard”
    which he will claim he created while employed by the government as a CIA contractor over a decade ago. There is NO evidence to support this.

    He will assert these programs are being used to alter vote counts in the current Presidential election however, it is improbable Montgomery has direct knowledge
    of this being that he has not been involved with the US government for the past 12 years.

    Montgomery is currently under indictment in Nevada for allegedly perpetuating a one million dollar fraud on a casino in Las Vegas.

    Montgomery defrauded the Maricopa County Sheriff's Office in 2015 for $120,000 over a year-long period as a confidential informant with tales of the Hammer
    and illegal surveillance and his involvement and purported evidence.

    Montgomery claimed to possess evidence of 47 hard drives of clandestine computer software, source codes and private information of american citizens which
    was to be turned over as evidence of illegal government data-harvesting and government surveillance and his operational involvement.

    He has been making these claims for over a decade yet even when according to court transcripts, Montgomery has made numerous claims of having invented
    software with unique capabilities worth multi-millions of dollars but never produced it, even under court order.

    Ultimately the decision was made by MCSO to have professional analysis conducted of the 47 hard drives evidence containing Montgomery's work product .

    Former NSA Whistleblowers William Binney, Kirk Wiebe, and Thomas Drake performed the review of the evidence produced by Montgomery at the request of
    MCSO in my presence and that of Det. Brian Mackiewicz .

    A report dated November 14, 2014 for the sheriff's office signed by Wiebe and Drake detailing the analysis states:

    “none of the data examined reveals or otherwise supports the assertion that the data contained on the hard drives examined resulted from the clandestine
    collection and processing of modern digital network communications and is instead, evidence of an outright and fraudulent con perpetrated on the government for
    personal gain and cover.”

    https://www.scribd.com/document/289508561/PX-2531-2013-11-13-Drake-Wiebe-Letter-Re-Montgomery-Hard-Drives


    Dennis Montgomery had indeed defrauded the MCSO. It was also later discovered this was one of a long fact pattern of deceptions perpetrated by Montgomery
    over decades, including an elaborate hoax to sell software to the DOD that an FBI investigation determined did not work and was a con.

    Montgomery conducted a choreographed fraudulent software demonstration of his creation to deceive the US military and trick them into purchasing non
    functional software. All of this is detailed from his lengthy litigious past and garnered from FBI 302 investigation reports and Federal court records. These are
    facts. And there is so much more.

    https://www.scribd.com/document/275559455/DM-FBI-Search-70-Gov-Docs-Unsealed-D-nev-3-06-Cv-00263


    Montgomery will destroy your credibility and at the same time send this entire matter and the nation in a whirlwind of lies and unproven claims. Please exercise
    much caution when dealing with Dennis Montgomery as he is very convincing. Montgomery has what can only be described as an insurmountable creditably
    issue, I know this first hand.

    Yes there was election fraud, but Montgomery is not the vehicle to bring this issue to a successful conclusion. He will be destroyed in the media and you along
    with him, not to mention his information will be found to be completely contrived.

    If I can be of further assistance please feel free to contact me.

    Michael Zullo




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             From: Jerry Johnson <                        >
                To: Mike Lindell                    >
           Subject: Letter About Dennis Montgomery & Symposium
              Date: Mon, 02 Aug 2021 22:07:18 -0500
       Importance: Normal
      Attachments: Expanded_Summary_Final_7_21.pdf; Untitled_attachment.txt


   Letter from Mike Zullo to Sheriff Joe Arpaio that I received tonight from Texas State Representative Steve Toth.




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                                                Expanded Summary



        To Sheriff Arpaio

        From Michael Zullo

        Date 7-20-2021

        Subject Infiltration of Mike Lindell - Existential Threat To DJT




        Overview

        There exists a strong possibility that Mike Lindell is being deliberately set up to unwittingly
        discredit the legitimate investigations into voter fraud, demoralize President Trump's political
        base and inflict political and reputational damage to President Trump.

        Developed source information, along with other supporting evidence, strongly suggests that
        government “assets'' have been deployed to infiltrate Mike Lindell and discredit the electoral
        audit process (and future audit challenges) through the interjection of fabricated computer
        information alleging numerous foreign actors interfered in the Nov. 3, 2020 Presidential election.

        Supported by tainted evidence and claims of numerous cyber attacks occurring during the Nov.
        3, Presidential election, the allegations are that altered vote tabulation conducted by nefarious
        foreign actors (chiefly China) caused President Trump to lose the election. The source and
        basis of these allegations is Dennis L. Montgomery, a known con man and fraud.

        As you are well aware through your own experience dealing with him in 2014, Dennis
        Montgomery is a con man and fraudster. Montgomery has been successful in convincing Mike
        Lindell that his Cyber related information is factual and in turn Lindell has based his entire Cyber
        Hacking election narrative solely on Montgomery and his suspect data.

        Montgomery has again positioned himself as the only individual who has this data, similar to the
        tactic he used to con the MCSO in 2014. Ultimately, it was discovered that Montgomery and
        much of his data was in fact fraudulent despite his representation to the contrary.

        As you will undoubtedly recall, in 2016, Federal Judge G. Murray Snow wrote in his opinion that
        Montgomery committed “fraud” against the Maricopa County Sheriff’s Office and there was
        overwhelming evidence of Montgomery's fraud. This opinion is well-documented in court
        transcripts such that no amount of spin Montgomery might try to put on it will change it. Fanning
        is well aware of this opinion, yet she advanced him to Lindell as a reliable source.




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        Opinion Excerpts

               a) 360. “First, Mr. Montgomery committed a fraud on the MCSO.”

               b) 360. “Having paid large sums of money to Montgomery for his investigations,

               the MCSO was a victim of that fraud.”.

                d) 362. “despite the overwhelming evidence of Montgomery’s fraud.”

                c) 373. “The conspiracy was largely concocted by Mr. Montgomery .”

        https://mediaassets.abc15.com/html/pdf/Melendres.PDF.pdf? ga=1.125221962.1714977591.1463180483



        Potential Impact on President Trump and Election Integrity

        Source evidence and personal knowledge reveal that at least two possible FBI assets have
        been advancing this false election fraud narrative. These potential operatives have been
        identified as Dennis L. Montgomery and self-described journalist Mary Fanning.

        It is imperative for President Trump to understand who these people are and how they have
        interjected themselves into the situation – especially regarding Mike Lindell’s documentaries and
        the fraudulent computer information featured in the Lindell documentary Absolute Proof and
        later again in Absolutely 9-0, seen by one hundred million people according to Lindell.

        This operation potentially aims to discredit the “fraudulent election” narrative by insertion of false
        claims, along with falsified computer data evidence, offering counterfeit proof of election
        tampering that will ultimately be revealed by design as a total fabrication and will do reputational
        harm not only to Mike Lindell but to President Trump as well.

        Montgomery, through Mary Fanning, has claimed he developed the computer systems Hammer
        and Scorecard while he was working as a subcontractor for the CIA in 2004 and again in 2009.

        However, as you will recall during the 2014 investigation, Montgomery stated in a taped video
        interview that the alleged supercomputer called "the Hammer" had already been developed by
        others prior to his arrival at Fort Washington in 2009. His later claim about creating the Hammer,
        like many of his other claims, cannot be corroborated.

        Montgomery told investigators in a tape interview in 2013, he was working at Ft. Washington
        from early 2009 to late 2010, however, in actuality documentation reveals that under the
        Blxware contract he was purportedly dispatched to Ft. Washington, as a subcontractor, was
        short-lived.

        Signed in January 2009 and remaining in effect only until March of 2009, the Air Force
        terminated the contract because the software “failed to meet its expectations. The scope of the
        contract was for the development of video compression, tracking and anomaly detection
        software. No indication that any work was to be conducted on any form of surreptitious
        breaching or data harvesting software.


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        https://ia800505.us.archive.org/23/items/gov.uscourts.dcd.160387/gov.uscourts.dcd.160387.132.0.pdf

        In that same interview, Montgomery also told investigators that he did not see the Hammer, build
        it or know anything about it before 2009. This is a stark contradiction to his and Fanning's claim
        that he built the Hammer in 2003. This is just one example of Montgomery's multiple timeline
        inconsistencies.

        https://www.thepostemail.com/2021/03/01/hammer-hoaxer-infiltrates-lindells-absolute-proof-2/

        It is also noteworthy that during the 2014 investigation, Montgomery never made any
        representations of creating a computer system, “Scorecard,” that alters vote counts during his
        time as a CIA subcontractor. This includes his direct testimony to the Arizona Attorney General’s
        Office and to Federal Judge Royce Lamberth in Washington DC in 2014.



        Problematic Claims

        Montgomery’s current claims defy logical explanations. For them to be remotely true one would
        have to conclude that China was either remiss or incompetent and failed to conceal its IP
        addresses, a common tactic known as “Spoofing,” that would have prevented identification of
        the country of origin in the breadcrumb trail of computer data that Montgomery claims was
        “flipping votes” remotely by computer intrusion.

        One would additionally have to believe that Montgomery, a private individual who has been out
        of government service for over a decade, would have the computer capability to collect such
        data, a feat that is difficult for most governments, let alone a private individual with no
        government access; yet somehow he was the only person in the nation to capture this data.

        Even if Montgomery's information were true as he represents, there are legalities that would
        make his acquisition of such data as he describes potentially a criminal act. It would be illegal to
        capture these types of internet transmissions without official authorization to do so. In other
        words, Montgomery, purportedly as a “White Hat Hacker '' outside the color of law, would be
        acting in an illegal manner and call into question the chain of custody of the specified
        information.



        Possible Legal Ramifications

        Bill Binney, former NSA expert and the creator of the mass data harvesting program
        “ThinThread” for the NSA, reported to me that Montgomery had approached him and attempted
        to entice him to conduct illegal computer activities in conjunction with this effort. Binney flatly
        refused and severed all communication with Montgomery and all others associated with the
        Lindell effort. Binney has stated it would be impossible for Montgomery to have the capability to
        collect the volume of data he claims. Binney should know due to the fact he is the creator of this
        type of program.

        As to Hammer and Scorecard, if these were in fact legitimate programs developed for the US
        government, their mere disclosure would have violated Montgomery's lifelong NDA, resulting in



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        his arrest. Montgomery seems to freely speak of these alleged clandestine programs with
        immunity.



        Verified Experts Refute Montgomery’s Claims

        As he did in 2014, Montgomery has once again utilized the ruse of Packet Data Information
        (“PCAPS”) as the identifying data points that contain the evidence of vote flipping. Montgomery
        has convinced Lindell that this information is irrefutable and cannot be altered or compromised.
        Lindell has made this assertion numerous times to the public. However, this claim is far from
        accurate according to former NSA and FBI experts.

        In actuality, interviews with three highly credentialed former US government Cyber professionals
        reveal that, each independently confirmed that just the opposite is true. Accordingly, “PCAPS
        can be faked, manipulated, spoofed and artificially injected.” All three have confirmed
        that faked information can be directed at a target and the unsuspecting data-collector
        would actually be collecting manipulated fraudulent data giving the appearance of
        authenticity.

        Expert Quotes

        “PCAPS source data shows a source IP Address, which can be resolved to a nation of origin. However,
        source IP data can be spoofed, masking the true origin. Also, a hacker will often compromise another
        system to launch their attack from, rather than directly use their own IP address. This is called “hopping.”
        It should also be noted that nation-state actors do not usually use an address inside their own
        country when launching an attack that could result in retaliation from another nation-state. It would
        be rightly assumed that nation-states use clandestine systems for operations. Additionally, to
        conclusively attribute a hack to a particular group, one would need to have access to the source
        IP system, which almost never occurs in cross-nation hacking.”

        “PCAPS taken on a secure protected device under proper chain of custody could be authentic, but
        without standard evidentiary and chain-of-custody controls the evidence will be attacked for not
        being authentic. PCAPS can be spoofed by systems designed to fake TCP/IP traffic. Many
        software products exist that can generate fake traffic at the time or later. The traffic may be real but
        there may be no way to verify its true source. Even if the traffic is genuine, it may not come from a
        suspected attacker. Zombies and proxies can be used to remotely generate attacks. These could
        be Cloud computing instances, computers taken over remotely by malware or by a variety of other
        means. So, traces from China may be from China but not under the control of the Chinese.”



        Data Contrived

        Montgomery’s data points and a video displaying the purported Cyber attack are featured in the
        Absolute Proof documentary. Mary Fanning is not present on the set and she doesn't physically
        appear in the documentary. She narrates and describes the information asserting it is PROOF of
        the attack, from a cell phone speaker during the broadcast. Her face is not seen.

        Montgomery’s data as depicted in the documentary was quickly discovered to have been
        contrived and phony within hours of it being revealed to the public as determined by our own



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        experts and later by Dominion Voting Systems in its litigation filings. Both our experts and
        Dominion’s independently identified the same fraudulent information, as did others.



        Yaacov Apelbaum, CEO of XRVision who I originally contacted and asked to review the
        Montgomery work appearing in the documentary, later released his findings publicly.

        1. The data is not sorted. That would be virtually impossible for any select output statement that created
        the file.

        2. Many of the IP addresses do not match the source and target locations specified.

        3. Some of the company/entity names don’t match the location specified.

        4. The document uses DBA names for companies instead of the actual legal name, which is what you
        would get if you did an actual IP-> organization resolution.

        5. All of the destinations are protected with firewalls, so, the “INTRUSION METHOD” referencing the word
        “FIREWALL” is meaningless. Also, from the limited attack vocabulary it obvious that whoever wrote this is
        not familiar with actual cyber offensive operations.

        6. Source date format is incomplete and is missing the time zone 7. Some of the records are incomplete,
        for example row 24 states that “TRUMP: DOWN 44,905”, but failed to add the “Y” entry under the
        “SUCCESS” column

        8. The tabs on the spreadsheet show that the titles were created manually (“Sheet 1” vs. “Sheet1”), which
        is unlikely if this date came from an automated process.

        9. The values in the field titled “TARGET ID”, which have the format of a MAC address, were most likely
        created with a random number generator. A sampling of some of these numbers yielded no results.

        Others were quick to publicly point out the glaring fraud in the Montgomery information.
        https://www.thepostemail.com/2021/03/01/hammer-hoaxer-infiltrates-lindells-absolute-proof-part-2/


        Evidence suggests that this operation may have begun as early as June 2017; however, in June
        2019 Dennis Montgomery resurfaced in a series of sanitized articles authored by Mary Fanning
        of The American Report. Fanning’s resurrection of Dennis Montgomery’s “Hammer” narrative
        raised concerns given our prior investigations into his fraudulent activities. Fanning conducted
        numerous Youtube and radio interviews pushing the whitewashed Montgomery narrative.



        Who is Mary Fanning?

        I first encountered Mary Fanning in 2012, via phone during the Obama birth certificate
        investigation. Fanning dispatched her associate, Alan Jones, to Phoenix a few years later
        claiming they had critical information pertaining to that investigation. It was clear from the first
        ten minutes of my interaction with Jones that his information was worthless, and judging from
        the ensuing conversation, it was clear that Jones was attempting to extract information from me.




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         He was not successful. Some weeks later in a phone conversation, Jones divulged that Fanning
         paid his travel expenses to Phoenix for that very purpose.

         Fanning is a self-declared National Security Journalist; however, she has no background in
         Journalism or National Security. In fact, she has no professional background or formal education
         that can be determined. Her Internet presence is token; not even a photograph exists of her
         online.

         Three former IC officials have independently expressed their belief that Fanning has ties to the
         CIA. One former official in particular attested to having worked directly with her in McLean, VA in
         1994. According to him, she had a different name then and was working on a specific overseas
         matter. An agency NDA prevents her identity from being disclosed. (This has not been verified)

         This account was corroborated to some extent when an unrelated former IC official
         unexpectedly provided me with details of the very same 1994 incident involving Fanning during
         an unrelated conversation. A number of former CIA, FBI and Intelligence professionals have
         expressed concern about Fanning’s behavior from having observed some level of trained
         sophistication. (This information will require further investigation to ascertain its validity.)



         Fanning’s Influence Campaign

         Along with Howse, Fanning is credited as a producer in “Absolute Proof” and subsequent Lindell
         documentaries. Fanning would have been in a position to have creative control over the
         information contained in the documentary. However, neither Lindell nor his executive producer
         (Howse) ever met Fanning in person and neither has ever seen her face. She is a disembodied
         voice over a telephone. Fanning has been successful in concealing herself from public view for
         decades. Her internet presence appears to have been completely scrubbed. This fact alone
         should give anyone pause.

         Well before the 2020 election Mary Fanning attempted to elevate Dennis Montgomery to hero
         status. In her writings, Fanning omitted critical information concerning Montgomery’s frauds and
         perjuries. She has refused to acknowledge Montgomery’s million-dollar felony fraud indictment
         in the state of Nevada (which has yet to be adjudicated after more than 13 years).

         This unresolved indictment suggests a longstanding relationship between Montgomery and the
         FBI or other government agencies. In fact, a former U.S. intelligence official informed me
         personally that Montgomery has been an FBI asset since January 2017. This would make
         sense as you will recall Montgomery met with the FBI and was given immunity by the DOJ in
         mid 2016.

         In her efforts to bolster Montgomery’s credibility as a “federal whistleblower” and conceal his
         sordid history, Fanning has engaged in a campaign of slander against anyone who brings up his
         shady past. She has leveled a number of allegations against anyone who questions her
         narrative or that of Montgomery's.

         Accusations of being deep-state actors, CIA agents or Russian spies are an automatic
         response. When two intelligence veterans attempted to warn Howse, Fanning slandered them
         as “deep state agents.” Howse was warned a number of times by different people concerning
         Montgomery, but the warnings were ignored.


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         “House Wife” or “Trained Operative?”

         In an effort to disclose the truth about Montgomery’s criminal past and relate his 2014
         interactions with your office, information was sent to Howse through Jeff Nyquist, a well-
         respected journalist. The response from Howse was visceral and led to a series of slanders
         against me from Fanning which can only be described as an attempted character assassination.

         Fanning’s attempts to slander me and others were purposefully discrediting and intended to
         prevent the truth about Montgomery's dubious past from surfacing. Based on my personal and
         professional experience dealing with Mary Fanning, and being a victim of her poisoned pen, I
         can only conclude she is highly deceptive or an outright liar at times.

         Former verified CIA officials known to both you and me have stated that Fanning’s methods are
         representative of a trained operative. Fanning has also been found to be embroiled in other
         government operations that would preclude the participation of an unaccomplished individual,
         purportedly a housewife. It is believed that her efforts to conceal her identity from public view
         are related to other operations she may have perpetrated.

         Fanning purposely omits any mention of Montgomery’s 35-year litigious history. She makes no
         mention of the fact that Montgomery is known as “The Man Who Conned the Pentagon,” his
         attempts to defraud the federal government, his felony indictment or his other bogus technology
         claims, multiple bankruptcies, perjuries, his many hoaxes, and his most recent fraudulent
         dealings with the Maricopa County Sheriff’s Office. I happen to know that Mary Fanning was
         acutely aware of each of these items, some of which I personally alerted her to in 2017. These
         are simply not the omissions of a simple housewife, as Fanning likes to portray herself, but
         rather, a well-calculated, deceptive act committed for purpose.

         Fanning supports the same narrative that Montgomery peddled to us in 2014; namely, that he is
         a CIA whistleblower and the inventor of the supercomputer called “The Hammer” used by the
         government for illegal spying operations on American citizens. This story has never been
         corroborated.



         2020 Presidential Election Internet Claims

         Last October 31, Fanning published a story titled, “Biden Using Scorecard and The Hammer to
         Steal Another U.S. Presidential Election” in which she began to promote a new set of
         fabrications from Montgomery. She claimed he had invented a program called “Scorecard” that,
         together with “The Hammer,” was going to be used to steal the presidential election from Donald
         Trump. The new “Scorecard” allegations were based solely on the assertions of Dennis
         Montgomery; Fanning offered no corroborating source.

         It should be noted that during our 15-month investigation of Montgomery, he never made any
         reference to “Scorecard” either during his 2013 “free talk” at the Arizona Attorney General’s
         Office or in the 2014 meeting you authorized with federal Judge Royce Lamberth.

         After the 2020 election, Howse and Fanning gained notoriety by promoting Montgomery’s claims
         about foreign hacking of the election. Eventually, Howse drew Lindell into Fanning and



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         Montgomery’s orbit. Although Lindell’s documentaries make no mention of Montgomery, the
         information Lindell used clearly originated with Montgomery and was linked back to him. It is my
         understanding Montgomery has met Lindell face to face. This is concerning, as my experience
         with Montgomery will attest to the fact that he is a very convincing skilled con man. Fanning has
         successfully worked her way into Lindell’s confidence; she is viewed as a highly trusted advisor,
         thereby discrediting opposition with accusations which remain unchallenged as she promotes
         Montgomery’s further infiltration.

         Fanning, Howse, Gen Thomas McInerney, (Ret) and Kirk Wiebe (NSA Ret.) all credited
         Montgomery with creating Scorecard based solely on Montgomery's representations and
         without viewing any direct evidence of the software’s existence. They also underscored
         Montgomery's call, days prior to November 3, that the election was going to be hacked, without
         questioning the validity of the claim. It was not until pushback came about Montgomery's
         reputation that a coordinated effort was launched by Fanning and Howse to stop identifying him
         by name, referring to him as “The Source'' in an effort to conceal his identity and scrutiny from
         the public.



         Montgomery’s Name Scrubbed

         After conducting several interviews with cyber-security experts (former employees of the NSA
         and FBI) I learned that Montgomery’s claims (and Lindell’s allegations) about election hacking
         cannot be validated. In fact, the origin of such hacking can rarely be determined and is
         impossible to validate from a non-government computer. Lindell’s claim about computer packet
         captures is not credible to any of the cyber-security experts I interviewed, including Bill Binney.

         I do not know how it was done, but Fanning bolstered Montgomery’s claims by flipping former
         NSA expert Kirk Wiebe, who had earlier testified in writing about Montgomery’s fraudulent
         activities in a report to you in 2014. Through Wiebe’s newly found endorsement and other
         resources, Montgomery’s narrative spread to official circles. In time the narrative became
         self-reinforcing.
         PX 2531 2013-11-13 Drake-Wiebe Letter Re Montgomery Hard Drives | Computing And Information Technology | Business
         (scribd.com)


         Despite Montgomery's name having been completely omitted from the ongoing narrative, the
         data on foreign hacking of the election was Montgomery’s and originally posted on a website he
         controlled. This entire narrative is based exclusively on Montgomery and his faulty data. Neither
         Montgomery's name nor his image appears in any of the Lindell documentaries.

         An Unlikely Alliance

         Here is how the narrative and infiltration were accomplished as Howse himself described in one
         of his TV broadcasts. Fanning recruited Howse, who in turn vouched for Fanning to Lindell.
         Howse said he and Fanning had to “sell" Lindell on the Montgomery information. Fanning
         vouched for Montgomery and his data. Lindell then met with Montgomery. They believed his
         story and ran with it. They made their documentaries and set up Lindell TV. They swallowed the
         “sleeping grenade” that will – if unchecked – damage the election fraud narrative and President
         Trump. The “absolute proof” that Mike Lindell refers to is no proof at all; it is believed to be
         disinformation planted by potentially two FBI operatives.



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         Sources report that Lindell’s team is attempting to bolster Montgomery’s fraudulent data by
         marrying it to other data supplied by hand-picked experts attempting to salvage the struggling
         narrative. Two highly qualified experts attest to having been present during a meeting to
         accomplish this task. During that process they challenged Montgomery's work product as being
         problematic. They were informed that if they could not support the “China” narrative their
         services were not needed and were not selected for the team.

         It is now public knowledge that Lindell will be hosting a Cyber Symposium where he plans to
         reveal all his cyber data to the public over a three-day live event next month. He has also invited
         experts with certain qualifications to participate. Under the circumstances described above,
         should Lindell’s narrative of election fraud and the faulty data be publicly released, the results
         will be fiercely contested.

         I have learned Montgomery will not appear at the symposium to defend his own work. This is
         not unlike his 2014 failure to support his work on the 47 hard drives he supplied to us which
         allegedly contained government-privileged information. That “evidence” of Montgomery’s claim
         was reviewed by former NSA experts Thomas Drake, Wiebe and Binney; as you recall,
         Montgomery declined the invitation to attend and his data was proven fraudulent. I suspect this
         will be the case here as well.

         One cyber-security expert told me, “I am not aware of any way that somebody could have
         collected live packet capture data that was monitoring the elections unless it was our own
         government. If the stuff is legit, then somebody broke the law and violated their nondisclosure
         agreement.”




         Conflicting Narratives, “Legal Jeopardy?”

         Dr. Douglas Frank, a physicist who thinks he discovered the algorithms that flipped the election,
         has made the disturbing statement that Lindell hired a group of “mission impossible” spies who
         broke into premises at remote locations to access overseas computers that hacked the election.
         If this claim is true in any sense, then Lindell may find himself in serious legal jeopardy.

         Lindell and Frank actually and perhaps unwittingly impeached a part of the Montgomery
         narrative. Lindell has publicly stated that he had only the intrusion data at the filming of Absolute
         Proof, but they did not know exactly how the vote-flipping was being accomplished. Frank
         claims his work reveals how the program was working algorithmically, and because of Frank's
         work they now had the answer.



         This flies in the face of Montgomery's assertion that he built the very program “Scorecard” that
         was doing the vote flipping. If Montgomery had indeed been the creator of the program he
         certainly would have known the algorithmic formula and could have described it in great detail;
         however, that is not the case. Lindell states that Dr. Frank brought forward the missing piece of
         the puzzle. This fact alone dismantles Montgomery’s narrative claim of being the creator of the
         software “Scorecard.”




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         Dr. Frank’s work is called into question

         The validity of Frank's work has just recently been called into question. An article recently
         released on the “Constellation Blog” website asserted that Frank’s computations are flawed,
         incorrect and deliberately deceptive as they relate to Broomfield County, Colorado.

         “Every single one of the underlying data points Dr. Frank presents is wrong.”

         https://www.constellationpolitical.com/blog/dr-frank-analysis-wrong/




         Lindell-Trump Linkage

         Lindell, for his part, unwittingly and through his funding of a variety of activities, may have been
         exposed to possible state and federal criminal prosecution with charges involving computer
         crimes, election tampering, conspiracy, fraudulent schemes and other possible charges.
         Politically motivated prosecutions seem to be the norm today.

         I suspect this operation also seeks to link President Trump through association with Lindell, if
         nothing more than by reputational destruction, as Lindell publicly touts his frequent visits with
         President Trump. Current media coverage of Lindell points to his having a part in January 6
         events as well as focusing on the monetary aspect of his involvement including profiteering from
         this effort. It is evident the counter-narrative is beginning to take shape.

         Should Lindell’s China narrative and data fall apart, the media will most likely try to link
         President Trump as a conspirator with Lindell in an attempt to fraudulently overturn the election.
         Much is at stake to simply rely on the representations of Dennis Montgomery.

         It does not take a great legal mind to see the danger here. Agent provocateurs, sent by the FBI,
         can lure the unwary to commit illegal acts. They can undermine the ongoing investigation into
         election fraud by contaminating good data with bad.



         Troubled Credibility

         Montgomery can never survive judicial scrutiny. His credibility is severely damaged by his
         lengthy litigious history, which includes perjury, fabrication of documents, loss of security
         clearances, and gambling debts. Criminal frauds and indictments are well-documented and
         insurmountable. Much of this information was not available to us in 2014.

                  February 2006: The FBI and US Air Force Criminal Investigations Division launched an
                  investigation of eTreppid and Mr. Montgomery for a National Security violation
                  involving the mishandling and unlawful transportation of classified data from a military
                  contractor.




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                 FBI 302 reports reveal eyewitness accounts of Montgomery’s fraudulent demonstrations
                 of his purported “FINDIT” object recognition Drone software to Pentagon officials.
                 eTreppid employees were instructed to push the “A” button on a computer provided by
                 Montgomery from a concealed remote location when they heard a beep on a cell phone.

                 Montgomery for his demonstration would place a toy bazooka in a field behind the
                 eTreppid facility. He would use a cell phone to send a signal to the employee, concealed
                 from sight from U.S. military officials, which in turn would cause a computer screen
                 placed in front of the officials to flash an image of the bazooka on the screen, giving the
                 appearance that the overhead drone utilizing Montgomery’s phony program had located
                 the bazooka. It was all a choreographed fraud. Witnesses told federal investigators that
                 this type of fraudulent demonstration conducted by Montgomery occurred on
                 approximately 40 separate occasions.
                 275559455-DM-FBI-Search-70-Gov-Docs-Unsealed-D-nev-3-06-Cv-00263.pdf (thepostemail.com)

                 September 11, 2006: A former coworker of Montgomery’s at eTreppid, Sloan Venables,
                 tells Air Force investigators Haraldsen and Smith that he found Montgomery “nuts and a
                 crazy compulsive liar,” “abusive to subordinates,” and “would threaten subordinates and
                 instruct them to not engage with TREPP” (co-founder of eTreppid).
                 275559455-DM-FBI-Search-70-Gov-Docs-Unsealed-D-nev-3-06-Cv-00263.pdf (thepostemail.com)

                 November 2010: Montgomery is indicted on six felony counts for passing checks
                 totaling one million dollars with insufficient funds at a Las Vegas casino:
                 https://www.clarkcountycourts.us/Anonymous/CaseDetail.aspx?CaseID=8698813




         March 2009: Magistrate Judge Valerie P. Cooke concludes Mr. Montgomery committed perjury and
         "Mr. Montgomery's September 2007 declaration contained untrue statements which he knew were false,
         and that this declaration was filed in bad faith and for the improper purposes of attempting to manipulate
         these proceedings, to gain a tactical advantage, to harass Mr. Flynn, his former Counsel, and to subvert
         orders of this Court. "

         “The court finds there is clear and convincing evidence that Mr. Montgomery committed perjury when he
          signed the September 10, 2007 declaration, and that he signed the declaration in bad faith, vexatiously,
                                           wantonly, and for oppressive reasons.”

         The court also found that Montgomery “demonstrated a consistent inability to not recall pivotal facts, and
                                      the court did not find his testimony credible.”

         Montgomery was referred to the US Attorney for criminal prosecution for perjury.

         As a result, Mr. Montgomery and his attorneys were jointly and severally sanctioned for over $200,000 in
         court fees and fines. Montgomery’s and the attorneys’ right to appear pro hac vice before the Circuit
         where was revoked for five years.

         Montgomery v eTreppid # 985 | ORDER Granting Sanctions Re Montgomery Perjury | D.nev._3-06-Cv-00056_985_




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         As stated earlier, I understand this information was presented along with a briefing to Kurt
         Olsen. It is also my understanding that no attempt has been made to advise President Trump
         himself. I believe this must be done immediately given the background and history of Dennis
         Montgomery and Mary Fanning.



         Planned Collapse

         Montgomery’s infiltration appears to be more nefarious than just a simple con for financial gain.
         The implantation of Montgomery’s erroneous data, along with a collapsing narrative, is designed
         to quickly erode the confidence and credibility of the legitimate election-audit process, not to
         mention the legal and financial entanglements Lindell will be left to shoulder.

         Should Lindell’s data be determined to be fraudulent, the negative repercussions in the court of
         public opinion, not to mention the onslaught from the media who appear to be lying in wait, may
         have profound consequences.

         The public, being lost in computer algorithmic jargon, growing frustrated and perhaps losing the
         resolve to pursue further state-level audit investigations, is being diverted from where the fraud
         actually took place: on the ground, as we are learning from recent analyses in Maricopa County,
         AZ and Fulton County, GA. With Maricopa County as being the only legally official authorised
         investigation and is yielding results that clearly indicate hard paper ballot irregularities.

         This is not to say there was not some level of computer related interference; however, this
         requires an exhaustive investigation conducted with the highest law enforcement standard.

         Based on the above, the possibility strongly exists that the entire Montgomery/Fanning
         Cyber-claim may be nothing more than a well-planned psyop designed to distract, defeat and
         perhaps ensnare the unsuspecting into federal prosecutions.

         Several attempts have been made to warn Howse and Lindell of the Montgomery/Fanning
         pitfalls to no avail. Solid evidence surrounding Montgomery is disregarded despite reaching
         counsel, and I suspect efforts may have been hampered from reaching President Trump as
         well.

         Final Thoughts

         All indications are that Lindell intends to move forward with his Cyber Symposium. Relaying this
         information to the president is crucial before that event takes place.

         Lindell will now enter the arena with a competing narrative to the official state-level audit
         results,that hold legal authority. He has already stated publicly that audits are not needed, all
         that is needed is his Cyber work. (Montgomery’s work).




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         This along with what may now be Dr. Frank’s problematic analytical data, this is exponentially
         much more dangerous. Marrying faulty data to authentic data is problematic on it’s own.
         Marrying inaccurate data to faulty data opens the door to a number of more serious problems.

         The best outcome at this juncture would be for Lindell to postpone his Symposium until a
         thorough independent detailed examination of Montgomery’s data can be performed by highly
         skilled, impeccably credentialed qualified experts, that are not currently on the Lindell payroll or
         influenced by Lindell or his team. This would guarantee the data is accurate, if possible and be
         the safest path forward for all involved, as the Lindell Cyber analysis is not the product of any
         authoritative body.

         If Montgomery’s unverified data is allowed to stand as the basis for Lindell’s symposium, the
         competing arguments challenging the emerging evidence of duplicate ballots, missing
         documentation required by law, mail-in ballots with no known origin, and old-fashioned phony
         ballot-stuffing is juxtaposed to computer-related cyber attack from a foreign actor will further
         convolute the narratives, which will likely not be reconciled to each other.

         Mike Zullo




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